Case 2:19-cr-00145-JAK Document 147-2 Filed 09/25/19 Page 1of11 Page ID #:469

To the Honorable Judge Kronstadt,

My name is Samantha Wang. First and foremost, I would like to deeply apologize for my
misguided actions. Diving into my past, my parents divorced when I was about five years
old. They tried to live separate lives under one roof for my well-being, but over time my
mother needed to leave the country for her own mental stability and safety. As I was
under my father’s care, he made it very difficult for my mother to visit me. My father did
the bare minimum raising me as a child, and we often moved from home to home. My
sister was going to college at the time, but would come home weekly to make sure I was
being taken care of properly. Regardless of her poor relationship with my father, my
sister decided to move back home for my sake. My mother finally came back to the
states, as I was finishing junior high. Immediately, I moved out of my father’s house to
be with my mother and sister.

Ata young age, | was aware of my family’s financial troubles. I did everything in my
power to seek financial aid as 1 was going into college. During the time of my offense, I
was unemployed and attending Cal State Fullerton as a full-time student. My mother and
I had just moved out of my sister’s house, for she had just started her beautiful family
when my niece was born. My mother and | moved into her boyfriend’s house to give my
sister’s family some peace. I was having difficulty maintaining my finances since I left
my previous job to focus on school. Relying on my unemployed single mother for money
was tough because I did not want to be a burden on her. When I was asked to take tests in
exchange for money, | did not fully evaluate the consequences that may have risen with
my actions. I acted upon what I thought was desperation to make ends meet, but this is
not to excuse the fact that I made a bad choice. I take full responsibility for my decisions
although I am not proud of them. I see the trouble I have caused, and the worries I have
brought upon my family. With that, I will forever be remorseful for my actions.

After the day of my arrest, my world was turned upside down. I was anxious and scared
for what the future holds — I still am. I am faced with the most difficult obstacle I was
never expecting to encounter in my life. As disappointed as I am in myself, my family
has been nothing but supportive and loving during this time. The support I felt from my
friends and family has helped push me to see better days. 1 have been focusing on my
career and have been working with my employer for the last year. While I am with the
company, I have also been planning and saving for higher education. I realize what I
want for myself is to constantly do better and strive for more.

Thank you for giving me the opportunity to speak on my behalf. As you are reviewing
my sentence, | hope you are able to see the regret I have been feeling towards my past
decisions. Regardless of what happens, I will continue being a contributing member to
society. Thank you for your valuable time.

Respectfully,

Samantha Wang
Case 2:19-cr-00145-JAK Document 147-2 Filed 09/25/19 Page 20f11 Page ID #:470

To the Honorable Judge Kronstadt,

Today I sit here writing this letter to you on the same day that I have lost a loved one for
the second time this year. A few months ago, | received a notification telling me that
someone was at my door. At that time, I was in Taiwan planning funeral
arrangements for my mother, and I knew this was about the time Samantha would
be leaving for work. As I turned on the camera to see what was happening, |
witnessed my daughter being arrested and taken away. They took my youngest
daughter, Samantha, away. I was scared, frustrated, and full of confusion as [ did not
know what was going on ~ | was helpless as I was thousands of miles away, and |
knew she was alone. I thought to myself, “what did my naive, innocent daughter do
to deserve this, to be taken away by all these unknown people?”

A few months prior, there were two other men that showed up at my door. My first
instinct was to protect my daughter since it was just the two of us at home. My first
reaction was to ask them what they wanted, and to try to get them to leave because
we thought they were strangers and we were both afraid. | understand now that |
should not have refused to open the door, and should have spoken to them. When
we saw them at court, | immediately apologized to the agents in person,

Samantha’s childhood was not the greatest. Her father and I divorced when she was
just five years old. There was a period of my absence in her life, and that | know was
a failure on my part. I have come to realize that this period of her life has hada
bigger impact on her than I could have ever imagined. Upon coming back into her
life, she was sweet and strong. She was also very independent for her age because
she knew she had to be. Our finances were never great, and while she was attending
college, she did not want me to worry about her financially. She was naive and in
need of money, which ultimately led her to make a poor decision to earn some
money on actions that her classmate had proposed to her.

Upon graduating college, she has a legitimate career, and works hard at it. After her
arrest, there were many sleepless nights where Samantha would come crying to me.
She often replayed the incident, and would ask herself how she could have been so
ignorant to go along with the proposal. She has shown regret and remorse. Knowing
who she is now, I strongly believe she would never make that poor decision again.
Parents want to give their children the best quality of life, but I wasn’t capable of
fulfilling that in Samantha’s youth. At this point I can only make up for lost time and
do what I can in my power to ensure her health and happiness. | ask respectfully,
Judge Kronstadt, to take my words in consideration during her sentencing. Thank
you for taking the time to read this letter.

The voice of a mother,

he Hu ~
Case 2:19-cr-00145-JAK Document 147-2 Filed 09/25/19 Page 30f11 Page ID #:471

To the Honorable Judge Kronstadt
RE; Samantha Wang

My name is Laura Lim and I am Samantha’s older sister. lam writing this character
reference letter to show my never-ending support for my little sister, Sam. I've been there to
support her since the day she was born 25 years ago, because we are 12 years apart, and I’m
more like a second-mom to her than a “traditional sister.” In fact, I would often tell my three
children (ages 6, 3 and 1) now that their aunt was “my first baby,” since I helped raise her when
our parents were often unfit, unable, or unavailable growing up.

My parents have always had a very unhealthy and abusive relationship. They divorced
when Sam was 5 years old. My father is an alcoholic and was verbally and physically abusive
toward my mother and I. He was never violent with Sam, but his actions toward us greatly
affected the outcome of her life when my mother spiraled into a deep depression, which
ultimately led to her choice of leaving the Country when Sam was approximately 6-12 years old.
Having a 6-year-old daughter now, I can’t begin to imagine all the thoughts that my little sister
formed about herself and the world when she heard the news that my mom left. As a licensed
mental health therapist, 1 can speak towards the type of clients I see in my practice who come
from broken and abusive homes often struggle with self-esteem, negative peer influences and
abandonment issues. As Samantha’s older sister, I can speak towards her sincere naivety,
insecurities, and fear of asking others for help when all throughout her childhood, she learned
rather quickly that she had to “figure it out,” on her own without the support of our parents or
others. My parents never had stable jobs, were often unemployed, and finances were always 4
problem for our family, but I still remember as children, I would always tell Samantha, that no
matter what happens, we were “not rich, but always rich in love,” because my love for her is
endless and ever-lasting.

I can’t even begin to speak of all the positive traits about Samantha because she truly is
an amazing person! She is the most thoughtful, kind-hearted, reliable, giving, friendly and
sweetest woman I know. She befriends everyone, without judgment, and always gives him or her
the benefit of the doubt, sometimes to a fault. That’s just my sister. She sees the good in
everyone and never wants to burden others, especially her family. My three children absolutely
adore her, They say that she is “The best aunt ever!” and I can definitely agree to that. Samantha
is always so open to assist us in caring for our children, often coming over our home 3-4 times a
week after work and on the weekends to play with the kids, have dinner with us and spend time
with family. So naturally, 1 was shocked to find out the behaviors that Sam engaged in four years
ago, because it is completely out of character from the girl | know. As she informed me of her
actions, she never once minimized it or made any excuses. I’ve never seen Samantha so
distraught or remorseful in her whole life and I truly believe she has gained responsibility,
understanding and growth through this experience. I truly believe her wrongful actions will never
be repeated and that she has sincerely learned from her past choices.

Thank you so much for taking the time to read this letter and I hope that you give her an

opportunity to be a better person for herself, her friends, her family and her community. Thank
you!

Respactfully,

    

Laura Lim
Case 2:19-cr-00145-JAK Document 147-2 Filed 09/25/19 Page 4of11 Page ID #:472

August 12, 2018

Your Honorable Judge Kronstadt,

I would like to introduce myself, I am Wendy Wang, the Assistant Controller of VHA, LLC.
Samantha has been working at VHA since April 2018 as a Staff Accountant. We first hired
Samantha as a part-time employee back in 2016 as an Accounting Clerk. Samantha is a hard-
working employee. If you ask our team members, they will say Samantha is a quick learner and
always willing to contribute to helping other teammates. As the department grew, the team
unanimously decided to hire Samantha as a full-time contractor.

VHA, LLC focuses on our company culture that consists of 4 core values, Collaboration,
Humility, Innovation, and Honesty. We do this by allowing employees to always have direct and
kind feedback to each other and to always escalate when they see an issue. Samantha has shown
her characteristic of always being humble, honest, collaborative, and innovative. She is always
thinking of ways to help the company grow. When she learns a new process, she will look for
ways where she can help streamline for better efficiency. She always stays neutral and speaks up
when she sees an issue. An example of that is about a month ago our LAM (Internal Account
Managers) went on a company outing. They had expense some personal items that violated
comparyy policy. Samantha was not afraid to challenge them of these charges and escalated the
issue to the leadership team. She came up with a better process that would better enforce the
policy on allowable employee expenses. Most employees would choose to ignore the issue to
avoid conflict or think it’s not their money, however Samantha took ownership of finding a
solution for the situation.

Samantha has spread her enthusiasm to our work environment, and our team undoubtedly feels
her positive energy. She is always encouraging the team to voice their ideas, and is there for
them when they have concerns. Our accountants sometimes may be too shy and will not speak
up. However, Samantha has always spoken up and set examples for other team members to do
so, She is someone we all enjoy working with. She is an intelligent, hard-working teammate,
who is valuable to our team, We are very grateful to have her be on our team.

In closing, I respectfully would like you to consider giving Samantha a lesser sentence in this
situation, as she is an extremely bright and talented young woman now. She has contributed in
many ways to help others and continues to work on growing herself personally and
professionally.

Sincerely,
eC

Wendy Wang
Case 2:19-cr-00145-JAK Document 147-2. Filed 09/25/19 Page 5of11 Page ID #:473

August 08, 2019
Your Honorable Judge Kronstadt,

My name is Maggie and | am writing this letter to urge leniency in the sentencing of my cousin,
Samantha Wang.

| was deeply troubled to hear about my cousin's offense because this is not like the girl | grew
up with. While she and | are both aware of the gravity of the crime she is being charged with, |
would like to offer you a perspective of the woman | know Samantha to be.

| have always known Samantha to be kind-hearted, helpful, and deeply rooted in family. As the
youngest cousin of our generation, Samantha is 10 years younger than me and has always
been the baby of our family growing up. With a sister 12 years her senior and 5 older cousins,
Samantha has always had strong family support despite the unstable circumstances she grew
up in after her parents’ divorce at a young age. As such, | believe Samantha tends to approach
situations with more naivety. | can't imagine that she committed this offense with any intent
other than to earn some quick money at the young age of 21 without understanding the full
repercussions of her actions. Now at age 25, Samantha has graduated with her bachelor's
degree from California State University of Fullerton and has been working full time for the past
year earning an honest living. Having watched her grow up, | am proud of the woman she has
become and know she has so much more to offer our society.

As you know, this is Samantha's first offense in an otherwise clean record. She has the full
support of her family and friends who know her to be an outstanding and benevolent character.

| strongly believe that a lesser sentence is most appropriate in this situation. Thank you.

Sincerely,

Maggie Lo
Case 2:19-cr-00145-JAK Document 147-2 Filed 09/25/19 Page 6 of 11 Page ID #:474

To the Honorable Judge Kronstadt,

| am writing you in regards to Samantha Wang. My name is Catherine Hu and I am one
of Samantha’s close friends as well as coworker. I am here to provide my perspective on my
experiences with Samantha. During the time that I have gotten to know her she has become more
than a friend to me, she is my confidant, the person I turn to when I do not know who else to
seek. I have a close-knit group of friends that have been in my life for at least a decade now, yet
none have exemplified the compassion and empathy that Samantha has.

Being able to work with her the past few years has allowed me to witness the growth that
Samantha is capable of. I have seen her learn, grow, and adapt in the work environment and
expresses interest in wanting to always do more and to keep learning. On a personal level, I have
seen her strive to change her perspective on obstacles she faces, always striving to try and do
better or gain a better grasp on things. She is not only a great friend to me, she is a loving and
caring aunt to her niece and nephews. I have never seen someone her age provide so much care
and diligence when these children are in her care. These children love her, and it is very clear the
love is mutual, she is their role model and frankly at times an essential caretaker.

It is clear to me that she is impactful possibly to. everyone that is in her life. She is the
kind of person that would drop whatever she was doing if she knew someone she cared about
was in need. She is thoughtful and careful with her thought process, but this is not to say that she
always makes the right decisions, however I can see her growth in her decision-making. It has
moved from rash to a more methodical and thorough process when she is making decisions,
taking in many considerations and perspectives before ultimately deciding.

| have seen in the past few months how remorseful she has been and has been seeking
ways to be proactive and cooperative in any way possible. I see her fight through her struggles
and push through the bad days. It pains me to see someone that I know who is so full of life be so
down and that the joy she exudes is replaced with worry and tears. My hope is that you consider
leniency on sentencing for a decision Samantha made in the past, as I truly believe that the
person she is now would not make the same decision. She is already a productive member of
society with so much more potential ahead of her. Thank you for taking the time to read this your
honor and for allowing me to express my experiences of Samantha.

Respectfully,

(tf

Catherine Hu.
Case 2:19-cr-00145-JAK Document 147-2 Filed 09/25/19 Page 7of11 Page ID #:475

To the Honorable Judge Kronstadt

Re: Samantha Wang

My name is Ashley Guo and I am a close friend of Samantha Wang. Samantha and I met each
other nine years ago in high school, At the time, I was still struggling with speaking the English
language. Being a first generation immigrate, I did not have a ton of friends growing up. I was
always afraid to speak up or to socialize with others. Thus, when I was first introduced to
Samantha, I did not think that she would make a significant impact on my life. However, her
undeniable friendly energy proved me wrong. Not only she did not make fun of me when I
spoke, she would constantly encourage me to be myself, and later have assisted me on building
more self-confidence. we became extremely close over the years, I would consider her now as a
sister I never had.

In addition of being a great friend, Samantha is also extremely family oriented. She puts family
at the center and focuses on their values, strengths, and relationships. Most do not know this, but
Samantha did not have the perfect family growing up. She moved around a lot and watched her
mother and sister gone through many difficult stages in their life. But, ever since she was a little
girl, she wanted to use her power to protect them and to take care of them. I recall plenty of our
canceled dinners were due to her having to babysit her nephews and nieces. I have never met
anyone this caring and selfless with family. She appreciates whatever family is given her and
channels all the negative energy to empower herself to become stronger.

When I first had learned about the incident that had happened, I was in complete and utter shock.
I tended to her side as soon as I could. Initially, I wanted to yell at her, that she knows better.
But, when I saw Samantha and the state that she was in, I couldn't help but to be emotional. My
heart went out for her. She was trying to explain what had happened But, she was so distraught
that it was hard to even understand what she was saying. One thing was clear to me, she
definitely feels remorse and is ashamed of her actions. I have never seen her like this.

Unfortunately, we are human and we all make mistakes in life. This is Samantha’s first
conviction; she was young and made irresponsible choices. She did not intend to hurt anyone. I
can say that, in all the years that I have known her, she has been an honest, loving, and
hardworking friend. I truly do believe that Samantha is sorry for what she has been done.

It would be hard to see her be taken away from her life and responsibilities to her family. I hope
that you recognize the power you wield with regard to the future of Samantha Wang, so she will
be given an opportunity for a second chance.

Yours faithfully,

Ashley Guo

pro
Case 2:19-cr-00145-JAK Document 147-2 Filed 09/25/19 Page 8of11 Page ID #:476

August 13, 2019
Re: Samantha Wang
Honorable Judge Kronstadt,

lam Samantha’s brother in law, Kevin Lim. I have known Samantha since she was 1.5 years old.
I met my wife, Samantha's sister, in junior high and have married with 3 children. Samantha and
her sister are 12 years apart and have always had more of a mother daughter like relationship. I
remember she would always come out with us on our dates. I have seen Samantha grow up her
entire life and saw firsthand the instability in her life.

I’ve seen her move from house to house over her childhood. She moved from her parents, to her
dads, to her mom’s, with her sister, with us and then back to her mom’s. She’s moved over 8
times during her childhood years. During this time, I don’t recall either parent holding a job for
long. It’s no wonder that she doesn’t remember a lot of this time. Samantha lived with us during
her high school years. Even with all this instability in her life she is one of the most loving and
caring people I know. Samantha lived with us when our first child, Dylan, was born. I am not
gure how we would have gotten through that time as new parents. I felt like I had a live-in nanny,
at no cost. She would help feed, bathe and take care of our daughter. She watched our child and
allowed us to go on much needed date nights. We would offer to give her money, but she would
never take it. She is someone that loves her family and would do anything for them. She is still
our go to person and literally the only person that can handle all three of our kids. She works a
full-time job yet she still comes over 3-4 times a week just to spend time with her niece and
nephews. My kids’ faces always light up when she walks in the door. She is their favorite aunt
and she is my favorite sister.

Samantha is a good person who did something wrong during her young college years and is
extremely remorseful for her actions. ] hope you recognize this as you read these letters and see
us standing in the court room in support of her. Please be lenient upon sentencing Samantha.

Thank you for your time on reading this letter.

Sincerely,
eg

Kevin Lim

 
Case 2:19-cr-00145-JAK Document 147-2 Filed 09/25/19 Page 9of11 Page ID #:477

Honorable Judge Kronstadt,

My name is Crystal Kim and I am writing this letter on behalf of my dear
friend Samantha Wang. I have known Samantha for over 10 years now. She is the
first friend | made at Diamond Bar High School after my transfer during junior year.
Being the new girl is never easy, however Samantha welcomed me with open arms
with no hesitance. When the teacher asked for a volunteer to show me around the
school, Samantha was the first and only person to raise her hand. This is a perfect
example to showcase her compassionate character.

Samantha is someone whom is always considerate of others’ needs and
feelings, She is a kindhearted soul that never fails to offer assistance to anyone.
Samantha has a strong sense of need to help others- especially her loved ones. She
cherishes her relationships with her family and friends, and would do anything to be
of service to them.

Samantha’s relationship with her family is always something that I have
admired. Since my family is small, and we are not as close, Samantha made it her
mission that | become apart of hers. From family gatherings for holidays, to
practically living at her sisters’ house with her- Samantha's nurturing spirit has
gifted me with a sense of home.

After high school, Samantha and | attended California State University,
Fullerton where we went on to take every class together until graduation. During
our time in college, | witnessed Samantha work diligently not only in her academics,
but also for financial independence. She never wanted to be a burden on her retired
mother by asking for money, and did whatever she could to keep her family from
worrying. With this said, | believe that Samantha's need for financial independence
clouded her judgment in making the poor decision in which she is being convicted of
today.

I was one of the first people outside of Samantha’s family to be contacted
after her arrest. When I met with Samantha, her demeanor was an overwhelming
sense of remorse and regret. Although she was unable to explain much about her
case in detail, she was able to express her disappointment in her actions. This is
Samantha’s first conviction, and | am certain that it will be her last.

Several years have passed since this unfortunate event. Since then Samantha
has graduated from college on Dean’s List, and is now working full-time ata
reputable company. Although she is unable to go back and erase her mistakes,
Samantha is able to take this situation as a learning opportunity. Through this tough
time, I believe Samantha is going to come out a better woman with more knowledge
ro share with others. Therefore, I am hopeful that your honor will show mercy and
consider leniency on Samantha's sentencing. | appreciate your time and
consideration while deliberating on the appropriate sentence for Samantha.

Sincerely,
Crystal Kim
Case 2:19-cr-00145-JAK Document 147-2 Filed 09/25/19 Page 100f11 Page ID #:478
July 3, 2019

To Honorable Judge John A. Kronstadt:

My name is Nina Ly and I am 25 years old. Samantha Wang and I have been best friends since
we were 14. Your Honor, never in a million years would I have ever thought about writing this
letter, but I am writing this to you in hopes of changing your perspective on my best friend.

Samantha has been and will always be there for her family and friends. She will drop everything
she is doing just to make sure her loved ones are supported, which is why we could always rely
on her. She has always been the biggest cheerleader in my life. Samantha has a huge dream of
opening a daycare with her sister. We would love to see her dream come true very soan.

For the 11 years | have known Samantha, I know she never had any bad intentions to cause any
harm to anyone, | understand that she has made a mistake in the past and because of that 1 know
she is feeling extremely remorseful. As she moves forward with this case, T know she will
become a better and stronger person.

Thank you for taking the time to read this letter, your Honor. | hope the court takes this letter
into consideration during the sentencing.

Sincerely,
Case 2:19-cr-00145-JAK Document 147-2 Filed 09/25/19 Page 110f11 Page ID #:479

Dear Plonorable Judge Kronstadt,

My name is Grace and [am writing you this letter as Samantha's hest friend. bam
writing this letter fo you in hopes that you will really understand who Samantha is a8 a
person. | have been friends with Samantha for over eleven years and over the yours } had
learned that Samantha is a caring. loving. and selfless person.

She has been there for me through my hardest time in life. When my parents were
going through adivorce, Samantha was the ene person | could count on > since her
parents were separated as well. she knew exactly what | was going through. Due to my
family’s hardships, my mom had to work early momings where she was unable to take
me to school. Samantha had opened her home to me and let me sleepover on weekdays so
that | can go to school with her, | remember her constantly checking in on me nah ithe
sure | was okay. She always managed to be there for me, even if she was going through
tough times herself -- putting the people she cares for before herself as abwass.

Por as long as | have known Samantha. she was never one to ask for ans thing
from her mom. She got her first job when we were juniors in high school to make sure
she could support herself at a young age. It was hard for her to ask her mother for ans
financial support knowing her mother is unemployed. Once she started anending college.
| remember she quit her job to focus on school, This was a financial burden on her. [even
recall her feeling guilty about having to ask her mom for gas money at one point

I spoke to Samantha on a daily basis within our eleven-year friendship: The das
she was arrested. 1 was contused as to why [ haven't heard from her. | constantly called
and even asked other triends if they have spoken to her. It took her three days to Tinaily
reach back to me to let me know she was okay and that she just wanted to be around
family. When she finally spoke to me about her arrest. you could just see how hard she
was on herself.

Samantha is someone who will always be selfless and someone who will always
put others before herself. Her past mistake does not define who she is as a person. With
that. | ask vou honorable Judge Kronstadt, to please look past this mistake Samantha
made and consider giving her a second chance. Thank vou for taking your time to read
this letter. | hope that when you come to her sentencing you can see what kind of caring,
selfless. person Samantha really is.

Best Regards.

Grace Choi

  
